             Case 1:22-mj-00195-RMM Document 22 Filed 02/27/23 Page 1 of 1



                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA

    v.                                                     CR NO. 22-MJ-195

JONATHAN JOSEPH COPELAND,


   Defendant.



                                               ORDER
         Based upon the representations in the Consent Motion to Continue and to Exclude Time Under

the Speedy Trial Act, and upon consideration of the entire record, it is hereby

         ORDERED that the Motion is GRANTED; it is further ORDERED that the currently scheduled

preliminary hearing on February 28, 2023, be continued for good cause to May 2, 2023, at 1 p.m.; and it

is further

         ORDERED that the time between February 28, 2023, and May 2, 2023, shall be excluded from

calculation under the Speedy Trial Act, see 18 U.S.C. § 3161(h)(7)(A). The Court finds that the ends of

justice served by the granting of such a continuance outweighs the best interests of the public and the

defendant in a speedy trial, as a continuance will provide the parties additional time to continue

negotiating a potential pretrial resolution and the parties additional time to review discovery.


                                                           G. Michael Digitally  signed by G.
                                                                         Michael Harvey

                                                           Harvey        Date: 2023.02.27 21:59:01
                                                      __________________________________________
                                                                         -05'00'
                                                      THE HONORABLE G. MICHAEL HARVEY
                                                      UNITED STATES MAGISTRATE JUDGE
